Case 2:04-CV-02802-BBD-tmp Document 83 Filed 06/20/05 Page 1 of 4 Page|D 59

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IN THE UNITED sTATEs DISTRICT coURE‘""“"' Fw\(

FOR TI-IE WESTERN DISTRICT OF TENNES l ¥U%zo PH 2: 53
WESTER.N DIVISION t o

 

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§§ W.IT)` \L;-%~ il\i. MEM

UNITED AUTO GROUP, INC.,
Plaintiff,
vs. Civ. No. 04-2802-D[P

ADAM EWING, et al.,

Defendants.

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AMENDED SCHEDULING ORDER

 

On June 20, 2005, the court held a telephonic status
conference with the parties. Present were Sharon Loy and Marc
Newman, counsel for plaintiff, and A. James Andrews, counsel for
defendants. For good cause shown, the scheduling order is hereby
amended as follows:

INITIAL DISCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1):
Completed

JOINING PARTIES: August l, 2005

AMENDING PLEADINGS: August 1, 2005

INITIAL MOTIONS TO DISMISS: Pending
COMPLETING A.LL DISCOVERY: NOvember 15, 2005

(a) DOCUMENT PRODUCTION: NOVember 15, 2005

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(b) DEPOSITIONS, INTERROGATORIES AN'D REQUESTS FOR
ADMISSIONS: November 15, 2005
(c) ExPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: September 15, 2005

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: OCtOber 15, 2005

(3) EXPERT WITNESS DEPOSITIONS: NOvember 15, 2005
FILING DISPOSITIVE MOTIONS: December 15, 2005
All other dates, including the February 21, 2005 trial date,
shall remain the same.

IT IS SO ORDERED.

U?QW

TU M. PHAM
United States Magistrate Judge

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Date

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CV-02802 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

Perry A. Craft

CRAFT & SHEPPARD7 PLC
214 Centerview Dr.

Ste. 233

Brentwood, TN 37027

Sharon Harless Loy

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Karl A. SchledWitZ

LAW OFFICE OF DOUGLAS R. BEATY
8130 Country Village Dr.

Ste. 1 0 1

1\/1emphis7 TN 38016

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Marc L. Newman
1\/[[LLER & SHEA P.C.
950 West University Drive
Suite 300

Rochester7 1\/11 48307

E. PoWell Miller

1\/[[LLER SHEA7 P.C.

950 West University Drive
Suite 300

Rochester7 1\/11 48307

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A. James Andrews
ANDREWS & HUDSON,P.C.
606 Main Avenue

Suite 202

KnoX\/ille7 TN 37902

Edward M. Bearman
BRANSON & BEARMAN
780 Ridge Lake Blvd.

Ste. 202

1\/1emphis7 TN 38120

Honorable Bernice Donald
US DISTRICT COURT

